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January 4, 2018

VIA ECF

Honorable Michael P. Shea
United States District Judge
District of Connecticut
450 Main Street - Room 217
Hartford, Connecticut 06103
Re:       United States v. Jeffrey Pearlman, 3:17-cr-00027

Dear Judge Shea:

         The Parties jointly write to notify Your Honor of additional information that they have
recently learned that they collectively believe affects the trial date scheduled in this matter. Jury
selection is currently set to begin on February 7th. For the reasons set forth below, the Parties
jointly and respectfully submit that adjourning the February trial date would be in the interests of
justice.

       The Government has just obtained a large amount of additional discovery that it will be
producing over the next few weeks to Defense counsel. This additional discovery will need to be
reviewed by Defense counsel prior to trial.

        To date, the Government has produced approximately 225,00 documents in discovery;
when possible these documents have been produced in a word-searchable format. The bulk of
the documents produced were originally obtained by the Government from Insys Therapeutics
via a grand jury subpoena, and contain e-mail communications, training materials, and other
documents. The Government has also provided the reports of witnesses interviews and the grand
jury testimony of its expected witnesses. To date, Defense counsel has been diligently, and to the
best of its ability, reviewing these documents as they have been received.

       On December 13, 2017, the Government produced an additional 91,111 pages of
documents. The Government is in the process of compiling an index to assist Defense counsel in
reviewing this additional discovery.

       Moreover, the Government has just received, and is in the process of bates-stamping and
hopes to produce shortly, the Government’s discovery database in the United States v. Jerrold
Rosenberg matter, 1:17-cr-9 (JJM)(LDA). That database contains approximately 85,617
documents in word-searchable format. While the Government believes that many of the
documents in this production set may be duplicative of documents already produced, it also

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believes that this production will contain documents being produced for the first time.
Accordingly the Government believes the entire database should be produced to Defense
counsel, especially since two anticipated witnesses in Defendant Pearlman’s case were identified
as potential witnesses in the Rosenberg matter – one of whom is Dr. Rosenberg’s son. The
parties both agree that Defense Counsel will need time to review the entirety of this document set
once it is produced.

       In addition, the Government also intends to produce two additional databases of
documents to defense counsel that were created in pending criminal prosecutions in the District
of Massachusetts (United States v. Babich, 1:16-cr-10343(ADB)) and the District of New
Hampshire (United States v. Christopher Clough, 1:17-cr-37 (JL)). Individuals, including
cooperating witnesses, interviewed in these cases will likely be called as witnesses for the
Government in Defendant Pearlman’s case. Again, while the Government believes that many,
although by no means all, of the documents may be duplicative of the documents that it has
already produced, it nonetheless wants to ensure that all relevant documents have been produced
to Mr. Pearlman. The Government believes that these databases will be larger than the
approximate 85,000 documents to be produced from the Rosenberg matter. The Government
intends to produce these two databases in a word-searchable format in “load file format” that can
be uploaded to most commercially-available litigation databases during the week of January 8th.
The Government is in the process of preparing an index for defense counsel of all of the
discovery given the anticipated volume. Collectively these additional productions will consist of
hundreds of thousands of pages. The Parties believe that Defense Counsel will need substantial
additional time to review these large document sets in order to prepare adequately for trial.

        Finally, the Government has recently learned that a State Attorney General’s office may
shortly bring charges against Mr. Pearlman despite the typical deference a state would show to a
federal prosecution and the troublesome complications arising from two parallel criminal cases.
Defense counsel is attempting to get in contact with the relevant Attorney General’s Office to
find out the nature of the potential charge(s). The Parties will further update Your Honor as
information is learned. Nonetheless, the Parties believe additional time is warranted to obtain
information about this state action prior to the commencement of Defendant’s federal trial as it
could have an impact on both Parties’ trial preparation and strategy.

        In short, given the immense amount of discovery that will be produced over the course of
the next few weeks, coupled with the possible new prosecution and Mr. Pearlman’s ongoing
health concerns (for which defense counsel is scheduled to update Your Honor next week), the
Parties believe that the interests of justice would best be served by adjourning the February trial
date by at least four to five months. The Parties believe such an adjournment is necessary to give
the Parties adequate time to produce and review the additional discovery, learn about the nature
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of the pending state court prosecution, and ensure Defendant and opportunity to recover fully
from the complications of his back surgery.

                                          Respectfully submitted,

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                                          /s/ Douglas Morabito
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